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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  Therisa D. Escue, Billy R. Escue, Jr.,
  Kim Schelble, Brian P. Weatherill,
  Kenneth C. Morandi, Jill Jeffries, and     Case No. 2:24-cv-10853-BRM-DRG
  Daniel Singh on behalf of themselves
  and all others similarly situated,         Hon. Brandy R. McMillion,
                                             United States District Judge
                           Plaintiffs,
                                             Hon. David R. Grand,
  v.                                         Magistrate Judge

  United Wholesale Mortgage, LLC,
  UWM Holdings Corporation, SFS              (Oral Argument Requested)
  Holding Corp., and Mathew Randall
  Ishbia,

                           Defendants.


           DEFENDANTS’ MOTION FOR RELIEF UNDER
 RULE 11, 28 U.S.C. § 1927, AND THIS COURT’S INHERENT POWERS
 BASED ON NEW ALLEGATIONS IN FIRST AMENDED COMPLAINT
       Defendants move for relief under Rule 11 of the Federal Rules of Civil

 Procedure, 28 U.S.C. § 1927, and this Court’s inherent powers based on new

 allegations in Plaintiffs’ First Amended Complaint. In compliance with Rule

 11(c)(2), Defendants sent this motion to Plaintiffs’ counsel on November 11, 2024,

 and requested that they withdraw their First Amended Complaint and dismiss this

 action or, at a minimum, move to withdraw the offending allegations. Plaintiffs

 failed to do so within 21 days. For the reasons set forth in the accompanying
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 memorandum and in Defendants’ previous Motion for Relief, Defendants therefore

 respectfully request that the Court grant this Motion and provide appropriate relief.

  NOTICE OF COMPLIANCE WITH SAFE HARBOR PROVISION OF
         FEDERAL RULE OF CIVIL PROCEDURE 11(c)(2)
       1.     Defendants have complied with Federal Rule of Civil Procedure

 11(c)(2)’s safe-harbor provision, because this “[m]otion” was “served” and “not”

 “filed” or “presented” “to the court” “within 21 days after service,” and Plaintiffs

 have not “withdrawn or appropriately corrected” “the challenged paper, claim[s],”

 or “contention[s].” Fed. R. Civ. P. 11(c)(2).

       2.     More specifically, Counsel for Defendants served this motion, brief in

 support, and accompanying exhibits upon Plaintiffs’ counsel via overnight mail and

 electronic mail on November 11, 2024.

       3.     On December 5, 2024, Plaintiffs’ counsel informed Defendants’

 counsel via electronic mail that Plaintiffs disagree with the motion papers.

 See Attachment A.

       4.     Some courts have held that the Rule 11 motion should be identical to

 the motion previously served. See, e.g., Uptown Grill, L.L.C. v. Camellia Grill

 Holdings, Inc., 46 F.4th 374, 389 (5th Cir. 2022); see also ECF No. 23, at 2–3. Given

 this guidance, Defendants are filing this motion, the brief in support, and the

 accompanying exhibits in identical form to those previously served on Plaintiffs’

 counsel (apart from this Notice of Compliance, one corrected FAC cite, the redacted


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 portions set forth below, and the dates for signature). As Defendants explain in their

 separately filed Notice of Filing Redacted Documents, the Defendants have

 provisionally redacted certain arguments and withheld certain exhibits pending the

 resolution of Defendants’ Motion for Leave (ECF No. 24). Cf. United States v.

 Quicken Loans Inc., 2021 WL 2562258, at *1 (E.D. Mich. June 23, 2021)

 (documents provisionally sealed until parties fully briefed and resolved outstanding

 issues as to whether documents should remain under seal). As before, Defendants

 contend that such redactions are not required, and that the redacted portions of this

 motion and withheld exhibits are relevant and should be considered by the Court.

 See ECF No. 24.

       5.     In addition, pursuant to Local Rule 7.1(a), Defendants’ counsel

 conferred with Plaintiffs’ counsel on Thursday, December 12, and confirmed that

 Plaintiffs do not agree to the relief sought in this motion. During that meet and

 confer, Plaintiffs’ counsel requested that Defendants redact the same information

 from their brief as before. Counsel also agreed that Plaintiffs’ counsel would let

 Defendants know by Friday morning if they requested any other redactions. On

 Friday, December 13, Defendants’ counsel also sent their proposed redactions to

 Plaintiffs’ counsel and Plaintiffs’ counsel voiced no objections in response.

       6.     For these reasons, Defendants respectfully submit that this motion,

 brief in support, and accompanying exhibits, are properly before the Court.


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  Dated: December 13, 2024                Respectfully submitted,

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


  Therisa D. Escue, Billy R. Escue, Jr.,
  Kim Schelble, Brian P. Weatherill,
  Kenneth C. Morandi, Jill Jeffries, and   Case No. 2:24-cv-10853-BRM-DRG
  Daniel Singh on behalf of themselves
  and all others similarly situated,       Hon. Brandy R. McMillion,
                                           United States District Judge
                           Plaintiffs,
                                           Hon. David R. Grand,
  v.                                       Magistrate Judge

  United Wholesale Mortgage, LLC,
  UWM Holdings Corporation, SFS
  Holding Corp., and Mathew Randall
  Ishbia,

                           Defendants.


 BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR RELIEF UNDER
 RULE 11, 28 U.S.C. § 1927, AND THIS COURT’S INHERENT POWERS
 BASED ON NEW ALLEGATIONS IN FIRST AMENDED COMPLAINT
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                  STATEMENT OF ISSUES PRESENTED
 1.   Should the Court award relief under Federal Rule of Civil Procedure
      11(b)(1) for maintaining this lawsuit for an improper purpose?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 2.   Should the Court award relief under Federal Rule of Civil Procedure
      11(b)(3) for raising factual allegations that a reasonable prefiling
      investigation would reveal are unsupportable or false?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 3.   Should the Court award relief under Federal Rule of Civil Procedure
      11(b)(2) for stating plain errors of law and bringing claims that have no
      sound basis in existing law?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 4.   Should the Court award relief under 28 U.S.C. § 1927?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes




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 5.    Should the Court award relief pursuant to the Court’s inherent powers?

             Defendants’ answer: Yes

             Plaintiffs’ answer: No

             This Court should answer: Yes




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         CONTROLLING OR MOST APPROPRIATE AUTHORITY
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 Chambers v. NASCO, Inc., 501 U.S. 32 (1991)

 King v. Whitmer, 71 F.4th 511 (6th Cir. 2023)

 Mann v. G & G Mfg., Inc., 900 F.2d 953 (6th Cir. 1990)

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                                  INTRODUCTION
       After two motions to dismiss and a motion for relief—which provided ample

 notice of the fundamental flaws in Plaintiffs’ allegations—Plaintiffs’ Counsel have

 continued to press ahead with this improper lawsuit. This litigation began as a

 coordinated effort to disparage Defendant United Wholesale Mortgage, LLC

 (“UWM”) to benefit an activist hedge fund. As the record indicates, it is readily

 apparent that Counsel—in coordination with Hunterbrook Capital LP and its media

 apparatus Hunterbrook Media (collectively, “Hunterbrook”)—timed and filed this

 lawsuit to amplify Hunterbrook’s messaging so someone could profit from the

 resulting stock swings. The greater the adverse PR effect from the “national” class

 action alleging “corruption,” the greater the profits. Defendants’ first Motion for

 Relief informed Counsel that this was not a proper use of the federal courts. Rather

 than withdraw the original Complaint, Counsel filed the First Amended Complaint

 (“FAC”), which is worse than its predecessor.

       The FAC warrants further sanctions for three primary reasons. First, the FAC

 exacerbates the inflammatory rhetoric and frivolous allegations, which underscore

 that this case was illegitimate from conception and continues to be today. Second,

 the FAC deletes allegations that were demonstrably false and replaces them with

 new allegations that UWM and Plaintiffs’ loan officers failed to disclose factors

 affecting Plaintiffs’ loan terms—allegations that are flatly contradicted by Plaintiffs’



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 loan disclosures. To take just one example, for newly named Plaintiff Kenneth

 Morandi, the FAC now claims that UWM and his loan officer left Morandi in the

 dark about “discount points,” despite multiple disclosures that Morandi himself

 signed explicitly stating that he would pay those points. And, finally, the FAC’s

 core allegations as to the pricing of each Plaintiff’s loan—namely, that the Plaintiffs

 were allegedly worse off with UWM’s loans—are based on an objectively

 unreasonable use of data.

       This improper lawsuit has gone on long enough. The Court should put a stop

 to it and award appropriate relief or, at a minimum, strike the offending allegations.

                                  BACKGROUND
       Much of the relevant background is set forth in Defendants’ first Motion for

 Relief. ECF No. 23. In sum, Defendants became the target of a coordinated

 campaign to devalue UWM’s stock. After locking in its stock trades, Hunterbrook

 published a Report laced with inflammatory rhetoric, and Plaintiffs’ Counsel filed

 the original Complaint, parroting and amplifying many of the Report’s claims, just

 hours later. ECF No. 1 (“Compl.”); ECF No. 23, Ex. 5 (Docket). After the original

 Complaint was filed, Hunterbrook publicized the lawsuit on its website, declaring

 that “Boies Schiller Flexner LLP and home borrowers across multiple states,

 supported by [Hunterbrook’s] data analysis, . . . filed a national class-action lawsuit

 against UWM.” S. Cowen Decl., Ex. A (“UWM’s Shell Game”).



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       This coordinated attack was multi-faceted and went beyond the initial

 Complaint and Hunterbrook Report. On the day the Complaint was filed and the

 Hunterbrook Report published, a popular sports podcaster published a podcast video

 on YouTube—inflammatorily titled, in relevant part, “How an NBA Owner Fleeced

 America”—featuring a Hunterbrook Publisher. Id., Ex. B (Screenshot of Pablo

 Torre YouTube Video). This video is laden with discussions of many of the claims

 contained in Plaintiffs’ Complaint—the timed release of which was clearly meant to

 amplify the damage that UWM’s stock price would ultimately suffer. Notably, the

 Hunterbrook Publisher went as far as “speculating” about “hypothetical” “legal

 trouble,” including how “UWM would likely just stop being a major mortgage

 lender in which case its shares would of course fall” and “Isbhia . . . could lose the

 basketball team that he spent his whole life chasing after.” Id., Ex. C, at 46–47 (Tr.

 of Podcast Video). The video cites the Hunterbrook Report and provides a link to

 Hunterbrook Media’s website. See id., Ex. B.

       Defendants moved to dismiss the lawsuit and served their first Motion for

 Relief on Counsel. ECF Nos. 16, 23. In that Motion, Defendants advised Counsel

 that this lawsuit was filed for an improper purpose and alerted Counsel to multiple

 frivolous assertions of fact and law in the original Complaint. ECF No. 23. But

 Counsel did not withdraw the lawsuit. Instead, they doubled down and filed an

 amended complaint. Because the FAC did not cure the defects that the Defendants


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 had identified in their Motion for Relief, Defendants filed that motion with the Court.

 Id. But that motion was limited to the defects in the initial Complaint that were not

 corrected or withdrawn in the FAC after notice of such defects; it did not address the

 new allegations and new plaintiffs in the FAC. This Motion addresses the new

 grounds for relief presented by the FAC.

                                LEGAL STANDARD
       There are three separate grounds for relief. First, under Rule 11(b), counsel

 certifies that each pleading (1) has not been “presented for an improper purpose”;

 (2) does not make frivolous “legal contentions”; and (3) does not make unsupported

 “factual contentions.” Fed. R. Civ. P. 11(b). That standard is objective; no bad faith

 is required. Chambers v. NASCO, Inc., 501 U.S. 32, 47 (1991). If “Rule 11(b) has

 been violated, the court may impose an appropriate sanction on any attorney, law

 firm, or party that violated the rule or is responsible for the violation.” Fed. R. Civ.

 P. 11(c)(1). It may also order an evidentiary hearing regarding potential Rule 11

 violations. See, e.g., Mullins v. Allstate Ins. Co., 2007 WL 3038028, at *1 (E.D.

 Mich. Oct. 18, 2007).

       Second, under 28 U.S.C. § 1927, courts may impose “the excess costs,

 expenses, and attorneys’ fees reasonably incurred” on an attorney who “multiplies

 the proceedings in any case unreasonably and vexatiously.” 28 U.S.C. § 1927.

 Relief is warranted under § 1927 “‘when an attorney knows or reasonably should



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 know that a claim pursued is frivolous’ and yet continues to litigate it.” King v.

 Whitmer, 71 F.4th 511, 530 (6th Cir. 2023). Again, that standard is objective; no

 bad faith is required. In re Ruben, 825 F.2d 977, 984 (6th Cir. 1987).

       Third, the Court always retains inherent power to guard against potential

 abuses of the litigation process. See Chambers, 501 U.S. at 50.

                                    ARGUMENT
 I.    The FAC Continues This Lawsuit’s Improper Purpose.

       Rule 11(b)(1) prohibits filing a complaint “for any improper purpose, such as

 to harass, cause unnecessary delay, or needlessly increase the cost of litigation.” An

 “improper purpose” alone can be sanctionable. See Whitehead v. Food Max of Miss.,

 Inc., 332 F.3d 796, 805 & n.4 (5th Cir. 2003) (en banc). The presence of one alleged

 proper purpose does not absolve another improper one. See Silva v. Witschen, 19

 F.3d 725, 730 (1st Cir. 1994). And an “improper purpose” can “continue[]” beyond

 an “initial[] fil[ing].” Mann v. G & G Mfg., Inc., 900 F.2d 953, 960 n.6 (6th Cir.

 1990) (finding plaintiffs “continuously violated” Rule 11 not only through their

 “initially filed” complaint but also through “all subsequent pleadings filed against

 [defendant]”); see Teno v. Iwanski, 464 F. Supp. 3d 924, 955–56 (E.D. Tenn. 2020)

 (awarding relief where “[p]laintiff’s conduct infected the entire lawsuit and was

 continued for an improper purpose”).




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        Defendants’ first Motion for Relief lays out why Counsel’s coordinated filing

 of this lawsuit violates this prohibition. ECF No. 23 at 8–11. That the FAC does

 not redress the original Complaint’s inflammatory rhetoric and unsupported core

 allegations—and instead increases them—is further corroborating evidence that

 Counsel filed and continues to maintain this lawsuit for an improper purpose. 1

        The FAC, for instance, further amplifies its incendiary remarks regarding

 UWM’s President and CEO, Mat Ishbia. See, e.g., FAC ¶¶ 6–8, 15, 24–25, 47, 64–

 66, 70, 80–81, 97, 103, 118, 128, 141, 151, 220, 353, 360, 365, 378, 432–39, 444.

 Many of the added allegations have no substantive relevance and are clearly

 designed to attract negative media attention. Moreover, the FAC not only continues

 to smear individual brokers as “corrupt” using inaccurate and misleading claims, it

 has increased and magnified those allegations. See, e.g., id. ¶¶ 1–2, 10, 13–15, 57,

 122, 124–25, 148, 156, 165, 168–69, 184, 216, 247, 300, 303, 324–35, 409, 412–15,

 421–25, 434, 439–40, 444. Those inflammatory allegations strike at the heart of

 UWM’s business model and broker network—providing further support for the




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       The undisputed circumstances surrounding this lawsuit—including
 Hunterbrook shorting UWM stock, the timing of the initial Complaint, Counsel’s
 “agreement” with “a Hunterbrook entity,” and Counsel’s use of a declaration from
 “an Advisor at Hunterbrook,” (see ECF No. 32, at 1–2)—continue to raise critical
 and unprecedented questions regarding the use of federal courts to support
 coordinated efforts to profit off shorting a company’s stock. See SEC v. Lemelson,
 57 F.4th 17, 20–23 (1st Cir. 2023).

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 already clear inference that this lawsuit was filed for an improper purpose. Teno,

 464 F. Supp. 3d at 953–54.

       And the FAC does not stop there. It has also increased the improper and

 misleading allegations surrounding the “All-In” provision to argue that the provision

 “meaningfully restricted [Plaintiffs’ brokers’] ability to shop for mortgage loans.”

 FAC ¶¶ 193, 225, 254, 279, 309.         Counsel maintained and magnified these

 allegations despite notice that the All-In Provision leaves available more than

 seventy wholesale-dedicated lenders and hundreds of additional lenders. ECF No.

 23, at 18–19. The FAC also maintains Plaintiffs’ improper assertions that loan

 officers have a duty to “survey the wholesale market,” which is contrary to federal

 law and federal regulatory guidance—all the while largely ignoring that Plaintiffs

 all received anti-steering disclosures pursuant to 12 C.F.R. § 1026.36(e). See, e.g.,

 FAC ¶¶ 34 n.11, 183, 215, 246, 271, 299; see ECF No. 23, at 20–21. And the FAC

 contains unreasonable legal errors, including by asserting there are no “case

 dispositive” differences in law when some states do not even recognize Plaintiffs’

 cause of action at all. See, e.g., FAC ¶¶ 35, 145, 338(a), 457, 472; see ECF Nos. 22–

 24.

       Finally, as explained further below, the FAC continues to use misleading and

 unreliable data, see infra Section III, and adds even more baseless allegations to

 support their newly concocted theories, see infra Section II. All of this further


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 supports Counsel’s continued improper purpose in maintaining this lawsuit. Teno,

 464 F. Supp. 3d at 955–56 (finding that the “meritless nature” of plaintiff’s “claims

 and contentions” reflected improper purpose); see also Mann, 900 F.2d at 960 n.6.

 II.   The FAC’s New Liability Theories Lack A Factual Basis.

       Rule 11(b)(3) proscribes factual contentions that a “reasonable inquiry” prior

 to filing would have exposed as “not well grounded in fact.” Merritt v. Int’l Ass’n

 of Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010); see Fed. R.

 Civ. P. 11(b)(3). After being confronted with the original Complaint’s flaws,

 Counsel abandoned several of their false Plaintiff-specific theories and instead set

 out a new line of attack for old and new Plaintiffs alike. But, as set forth below,

 these new liability theories have no basis in fact.




       In response, the FAC

                        instead conjures up new theories that claim that Plaintiffs did

 not “realize” they would be paying “discount points” to secure their interest rate or



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 they were otherwise misled into paying more for “cash-out refinance[s].” FAC

 ¶¶ 202, 230, 282. These new theories are just as baseless as the old ones. Plaintiffs’

 own loan documents clearly show that Plaintiffs’ brokers did disclose these facts.

 See e.g., S. Cowen Decl., Exs. F–H, J–N. Thus, Plaintiffs’ Counsel did not perform

 a “reasonable inquiry” before bringing these new allegations. Merritt, 613 F.3d at

 626.

        Morandi. The claims made regarding newly added Plaintiff Morandi are

 perhaps the most egregious. Morandi approached Garrett Todd, a loan officer with

 National Trust Lending, for a refinancing after having first received a quote from

 Allied First Bank. Todd Decl. ¶¶ 1, 2, 4; Ex. 2. The FAC falsely alleges that “Todd

 signed UWM’s Wholesale Broker Agreement.” FAC ¶ 275. He did not. Todd Decl.

 ¶ 10. This only highlights how Plaintiffs continue to frivolously lump together loan

 officers and brokers (a firm that may have multiple loan officers) in the FAC in an

 effort to disparage all of them. ECF No. 23, Mot. for Relief, at 22.

        In May, 2022, Morandi’s credit score was very low: 603 as of May 12, 2022,

 based on one credit pull, and 666 as of May 19, 2022, based on another. Id. ¶ 3; Exs.

 3–4; see also id., Ex. 2 (referring to Morandi’s credit score as a “Bottom Feeder

 Score”). Unfortunately, Morandi also lost his job on or around May 19, 2022, and

 had to find a new one. See Todd Decl. ¶ 6; compare S. Cowen Decl., Ex. D (Morandi

 5.19.22 Uniform Residential Loan Application) at 2 with Ex. I (Morandi 6.17.22


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 Uniform Residential Loan Application) at 2; Ex. E (Morandi Employment

 Verification Request).

       Despite these circumstances, Todd worked with Morandi to find a loan that

 Morandi could afford. Todd Decl. ¶¶ 5–9; Ex. 1. Given his poor credit score,

 Morandi would have had to pay a mortgage insurance premium on the FHA

 mortgage through Allied First Bank. Id. ¶ 4. Todd worked with Morandi to help

 him remove certain debts from his credit report, which increased his credit score to

 725. Id. ¶ 5; Ex. 3. Todd was then able to secure a 30-year fixed interest rate of

 4.625% for a principal amount of $310,000 from UWM. FAC ¶ 281; Todd Decl.

 ¶ 7. In the process, Todd explained that Morandi would need to purchase discount

 points to attain the note rate of 4.625% but doing so would be cheaper than securing

 an FHA loan and paying a mortgage insurance premium. Todd Decl. ¶ 7. Todd even

 fronted the money for the appraisal himself because Morandi indicated he could not

 afford to pay it prior to closing. Id. ¶ 8; Ex. 4.

       Despite this, the FAC claims that Morandi “did not realize, at any point prior

 to closing, that he would be paying $4,348.31 in ‘discount points’ as a condition of

 securing [his] interest rate” and that no one “ever discussed ‘points’ with [him].”

 FAC ¶ 282. But three different closing disclosures show otherwise—expressly

 listing the amounts to be paid in “points”:




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 S. Cowen Decl., Ex. F (June 3) at 2; Ex. G (June 6) at 2; Ex. H (June 16) at 2.

       Morandi signed and acknowledged receipt of all three of these disclosures. S.

 Cowen Decl., Ex. F at 5; Ex. G at 5; Ex. H at 5. Additionally, the “points” were also

 listed in Morandi’s loan application in the amount of $4,348.31.




 See S. Cowen Decl., Ex. I at 12.


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       Thus, Plaintiffs’ Counsel only needed to look at Morandi’s loan documents to

 realize that he, in fact, received multiple and explicit disclosures regarding the

 discount points he would pay. The non-disclosure theory is thus “not well grounded

 in fact.” Merritt, 613 F.3d at 626. And Counsel’s failure to undertake even a basic

 inquiry—especially after Defendants’ prior objections based on Plaintiffs’ loan

 documents—falls far short of Counsel’s obligations. Id.

       Schelble. According to the FAC, Schelble received an interest rate from

 UWM “that met his expectations.” FAC ¶ 230. Yet the FAC claims that he “did not

 realize, at any point prior to closing, that he would be paying $2,953.41 in ‘discount

 points’ as a condition of securing [that] rate” and that neither UWM nor his loan

 officer discussed this. Id. That is directly contradicted by Schelble’s closing

 documents. Not only did his final, updated closing disclosure list $2,953.41 as the

 amount to be paid by Schelble for “Points,” S. Cowen Decl., Ex. J (Schelble August

 Disclosure), so too did the disclosures issued to him on June 2 and May 23—three

 different disclosures in all.




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 See id., Ex. K (Schelble June Disclosure); Ex. L (Schelble May Disclosure). Even

 Schelble’s loan estimate mentions “Points.”




 Id., Ex. M (Schelble Loan Estimate) at 2. Again, just as with Morandi, Plaintiffs’

 Counsel only needed to read through their client’s loan documents. If they had

 conducted this “reasonable inquiry,” they would have realized that their non-

 disclosure allegations “were not well grounded in fact.” Merritt, 613 F.3d at 626.

       Escues. The FAC now alleges that “because Elkins structured the Escues’

 loan to provide them $2,452.89 cash back at closing”—exceeding a Fannie and

 Freddie $2,000 threshold—“the Escues’ loan was classified as a ‘cash-out refinance’

 loan, and thus subject to an additional price increase[.]” FAC ¶ 202. The FAC

 claims the Escues were injured because UWM and their brokers “never explained”


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 that the $2,452.89 payment to the Escues caused a price increase. Id. But that new

 liability theory is demonstrably false.

        The Escues’ loan was classified as a cash-out refinancing because the Escues

 themselves secured the loan in order to pay off over $80,000 of debt, not because the

 payout at closing exceeded $2,000 standing alone. CRA Decl. ¶ 10; S. Cowen Decl.,

 Ex. N (Escues Closing Disclosure), at 3. They borrowed $243,200 overall in

 refinancing their mortgage, but their payoff amount was $155,962.60—resulting in

 a cash-out amount of $87,237.40. S. Cowen Decl., Ex. N (Escues Closing

 Disclosure), at 3. Thus, the cash-out price adjustment would have been made even

 if the Escues had received no cash at closing. CRA Decl. ¶ 11. The alleged failure

 to disclose the $2,000-plus cash received at closing supports no claim of any kind.

 Id. ¶¶ 10, 11. That renders the Escues’ newly made theory alleging non-disclosure

 frivolous.2 Had Counsel conducted a “reasonable inquiry,” they would have learned
           1F




 as much. Merritt, 613 F.3d at 626.




    2
      The suggestion that there was something nefarious about the $2,452.89 that the
 Escues received at closing is likewise frivolous. That is simply a function of when
 the loan closed and what happened in the interim. Prior to closing, the estimated
 amount of cash due back to the Escues was $652.00. CRA Decl. ¶ 11. The amount
 paid to the Escues at closing increased from the estimated $652.00 to $2,452.89
 simply because the final closing cost amount they owed turned out to be less than
 the estimated closing cost because the payoff amounts owed on their prior mortgage
 and other debts to be satisfied at closing decreased between the time of application
 and closing. Id.

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 III.   The FAC’s Core Theory Runs Afoul Of Accepted Standards.

        Rule 11(b)(3) further bars Counsel from asserting “technical analys[e]s” and

 “statistical extrapolations” that are “facially unreliable.” King, 71 F.4th at 524. And

 a refusal to withdraw such contentions despite notice of their deficiencies also

 warrants sanctions under § 1927. Id. at 530. The FAC’s central theory of harm

 relies on a statistical analysis of exactly that sort. Like the original Complaint, the

 FAC’s central accusation as to each Plaintiff is that “publicly available data” shows

 that his or her UWM loan was not the “most affordable option on the market” when

 compared to other loans. FAC ¶¶ 197, 231, 259, 285, 314. But that “publicly

 available data”—i.e., Hunterbrook’s analysis—comes from two datasets: Home

 Mortgage Disclosure Act data (“HMDA” data) and deed of trust data (“Deed” data).

 ECF No. 23, Ex. 15 (“How We Crunched the Numbers”) at 2. Neither dataset

 provides any support for those allegations in the FAC. ECF No. 23, Ex. 1 at 5. Since

 the data does not—and cannot possibly—support the loan comparisons they purport

 to make, Counsel arrive at their conclusions only by using misleading figures and

 “statistical extrapolations” that are “facially unreliable.” King, 71 F.4th at 524.

        False Allegations of “Similar” Loans. First, Counsel purports to compare

 Plaintiffs’ loans with other loans that have “the same parameters in all material

 respects.” FAC ¶¶ 197, 259, 285; see also id. ¶¶ 231, 314 (“substantially similar

 loans” for a borrower of Plaintiff’s “profile”). Those allegations are facially



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 unreasonable because the Hunterbrook data upon which the FAC relies omits the

 key variables needed to support their alleged comparisons. ECF No. 23, Ex. 1 at 5.

 Failing to account for these variables is tantamount to comparing the cost of flights

 without knowing the starting point, destination, or number of stops.

       For example, Morandi’s credit score of 725 was used to price his mortgage,

 and the price adjustment in the market at that time for a 725 FICO score with a 69.7%

 Loan to Value (“LTV”) ratio for a cash-out refinance loan was a full 1.25%, which

 amounts to $3,875 of Morandi’s $310,000 loan amount. CRA Decl. ¶ 9. Similarly,

 for Jeffries and Singh, their FICO score of 680 and LTV ratio of 97% would cause

 a loan level market price adjustment of 1.125%, or, $3,601 of their $320,100 loan.

 Id. ¶ 6.   The Escues, Schelble, and Weatherill had material loan level price

 adjustments too based on their own unique loan circumstances, including FICO and

 LTV ratios. Id. ¶ 7; ECF No. 23, CRA Decl. ¶ 5. These discrepancies are significant

 by Plaintiffs’ own standards. See, e.g., FAC ¶ 317 (alleging that Jeffries and Singh

 “paid at least $1,505 more in upfront costs than the median comparable loan”).

       “All seven Plaintiffs had FICO/LTV combinations that were subject to Fannie

 Mae or Freddie Mac loan level price adjustments of varying magnitudes.” CRA

 Decl. ¶ 7. “These adjustments are critical pieces in understanding whether their

 individual interest rates and origination charges were consistent with alternatives in

 the market.” Id. The only appropriate way to compare Plaintiffs’ loans is to identify


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 loans made to borrowers with the similar FICO scores and LTV ratios, but that

 cannot be done with Plaintiffs’ data. Id. ¶ 6.

       The same goes for a myriad of other crucial factors that determine loan price,

 like employment history and the length of a rate lock-in period. ECF No. 23, CRA

 Decl. ¶ 14.    Because Plaintiffs’ core theory continues to rely upon “facially

 unreliable” “statistical extrapolations,” Counsel has violated Rule 11(b)(3) and

 § 1927. King, 71 F.4th at 524.

       Misleading Use of Monthly Averages. Plaintiffs’ Counsel also employ

 misleading and objectively unreasonable averages to compare loans. Instead of

 comparing loan prices on a given day to determine what is “most affordable,” the

 FAC compares loans over an entire month—sometimes two. FAC ¶¶ 197, 231, 259,

 285, 314. That is gamesmanship. Interest rates can fluctuate dramatically over

 multiple weeks and were especially volatile in 2022 and 2023. CRA Decl. ¶¶ 4–5.

 It is therefore meaningless to compare the interest rate for Plaintiffs’ loans, locked

 in on specific days, to one or two month-long periods where interest rates fluctuated

 wildly.

       Plaintiffs’ Counsel, for example, compares Jeffries and Singh’s mortgage to

 mortgages during “September and October 2023.” FAC ¶ 314. According to

 Freddie Mac, the average 30-year fixed rate mortgage varied between 7.12% and

 7.76%—.64 percentage points—during that two-month period. CRA Decl. ¶ 4. A


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 difference of 0.64 percentage points on a $320,100 30-year loan for the first year

 alone is estimated at $2,053 and over the course of 30 years is estimated at $50,384.3

 To take another example, the average 30-year fixed rate mortgage rates varied from

 5.25% for the week ending May 19, 2022 to 5.81% for the week ending June 23,

 2022. CRA Decl. ¶ 5. That means the market rate varied by 0.56 percentage points

 over the period in which Morandi refinanced his mortgage. Id. On a 30-year

 $310,000 loan, that is an estimated difference of $1,736 within the first year alone

 and $39,268 over the course of 30 years. See supra fn. 3. By Plaintiffs’ own

 standards, those are substantial discrepancies. See FAC ¶ 317 (alleging that Singh

 and Jeffries overpaid by “at least $1,590”).

        The only reasonable way to evaluate Plaintiffs’ loans would be to compare

 them to loans obtained on the same day. Otherwise, the drastic swings in interest

 rates will inevitably misrepresent what the “most affordable” mortgage is. Even a

 “layperson” could see why that is “facially unreasonable.” King, 71 F.4th at 524.

        Deviation from Accepted Methodology. Lastly, as Defendants explained in

 their first Motion for Relief, government regulators already have an accepted

 methodology to compare the overall cost of loans using rate spreads. ECF No. 23 at

 21. The rate spread is the difference between the mortgage loan’s APR and the



    3
         See, e.g., Mortgage Calculator, NerdWallet,                   available     at
 https://www.nerdwallet.com/mortgages/mortgage-calculator.

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 average prime offer rate for similar types of loans as of the date the interest rate is

 locked. ECF No. 23, CRA Decl. ¶ 10. The rate spread captures various key costs

 of the loan in addition to the interest rate and origination fees charged. Id.

       Applying this method here undermines Plaintiffs’ claims. For instance, even

 with the loan level price adjustment for Morandi’s cash-out refinance, the rate spread

 on his mortgage was -0.841, indicating that he paid a lower APR than the average

 30-year fixed rate loan (an average including mortgages that were not subject to any

 loan level price adjustments, which a full analysis would address). CRA Decl. ¶ 9.

 And Weatherill’s rate spread was lower than the average wholesale loan from the

 top 25 wholesale lenders at that time, even when setting aside the factors that would

 have increased his loan price (which a full analysis would address). ECF No. 23,

 CRA Decl. ¶ 12. Plaintiffs’ Counsel conveniently eschews this generally accepted

 methodology in favor of Hunterbrook’s “facially unreasonable” “statistical

 extrapolations,” no doubt to support the improper purpose for which this lawsuit was

 filed. King, 71 F.4th at 523–24.

                                   CONCLUSION
       Defendants request that the Court grant this Motion, dismiss this action with

 prejudice, and order attorney’s fees or, at a minimum, strike the offending

 allegations. Alternatively, Defendants request that the Court order disclosures to




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 determine any additional facts and hold an evidentiary hearing to determine

 appropriate relief.

  Dated: December 13, 2024              Respectfully submitted,

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